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EXHIBIT A
Case: 1:18-cv-06918 Document #: 26-1 Filed: 02/05/19 Page 2 of 7 PagelD #:133

MANDARICH LAW GROUP, LLP

Attorneys at Law Christopher D. Mandarich (CA)
Current Creditor: LVNV Funding LLC phan & Vor (AK CA, ID, OR, WA)
2 . ep y lo:
Our File No.: 163056 . 420 N. Wabash Ave Suite 400
Original Creditor: Capital One, N.A. Chicago, iL 60621
Original Creditor Account No.: XXXXXXXKXXKXX7093 P: 877.285.4918
Current Balance: $11,346.21 F: 818-888-1260
Charge Off Date: 03/31/2017 www.mandarichlaw.com
You may also contact us via email at
INFO@MANDARICHLAW.COM
Pay Online: www. PayMLG.com
Glenda Lawson
13363 Monterey Way
Victorville CA 92392-6392 January 24, 2018
Dear Glenda Lawson,

Your account has been sold and assigned to our client, LVNV Funding LLC. This office has been retained to
collect the above balance that you owe our client. This is a demand for payment of your outstanding obligation.

If you choose to do so, you may make a payment online by visiting our website at www.PayMLG.com at your
convenience. Please contact our office should you wish to discuss payment arrangements on your account. You
can reach us on our toll-free number of 877.285.4918. When contacting our office by phone or letter, please refer

to file number 163056.

Unless you, within thirty days after receipt of this notice, dispute the validity of the debt, or any portion thereof,
we will assume this debt is valid. If you notify this office in writing within the thirty day period that the debt, or
any portion thereof, is disputed, this office will obtain verification of the debt or a copy of a judgment against you
and a copy of such verification or judgment will be mailed to you. Upon your written request within the thirty
day period, this office will provide you with the name and address of the original creditor, if different from the
current creditor,

You may request records showing the following: (1) that LVNV Funding LLC has the right to seek collection of
the debt; (2) the debt balance, including an explanation of any interest charges and additional fees; (3) the date of
default or the date of the last payment; (4) the name of the charge-off creditor and the account number associated
with the debt; (5) the name and last known address of the debtor as it appeared in the charge-off creditor's or debt
buyer's records prior to the sale of the debt, as appropriate; and (6) the names of all persons or entities that have
purchased the debt. You may also request from us a copy of the contract or other document evidencing your

agreement to the debt.

A request for these records may be addressed to: Mandarich Law Group, LLP, 420 N. Wabash Ave Suite 400,
Chicago, IL 60611.

Sincerely,

Mandarich Law Group, LLP

THIS COMMUNICATION IS FROM A DEBT COLLECTOR. THIS IS AN ATTEMPT TO COLLECT
A DEBT, AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.

AOA
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IMPORTANT NOTICE OF RIGHTS

 

We are required under state and/or federal law(s) to notify consumers of certain tights. This list does not include
a complete list of rights you may have under state or federal laws or regulations. Federal Law or other state laws
may also provide you with similar or even greater rights,

In California: The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection
Practices Act require that, except under unusual circumstances, collectors may not contact you before 8 a.m. or
after 9 p.m. They may not harass you by using threats of violence or arrest or by using obscene
language. Collectors may not use false or misleading statements or call you at work if they know or have reason
to know that you may not receive personal calls at work. For the most part, collectors may not tell another person,
other than your attorney or spouse, about your debt. Collectors may contact another person to confirm your
location or enforce a judgment. For more information about debt collection activities, you may contact The
Federal Trade Commission at 1-877-FTC-HELP or www.fic.gov. As required by law, you are hereby notified
that a negative credit report reflecting on your credit record may be submitted by the creditor to a credit reporting
agency if you fail to fulfill the terms of your credit obligations.

Mandarich Law Group, LLP | 420 N. Wabash Ave Suite 400, Chicago, IL 60611 | 877.285.4918
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MANDARICH LAW GROUP, LLP

Attorn eys at Law Christopher 0. Mandarich (CA)
Current Creditor: Cavalry SPV I, LLC Plenve Rept ow A
Our File No.: 207241 420 N. Wabash Ave Suite 400
Original Creditor: Citibank, N.A. Chicago, IL 60612
Original Creditor Account No.: XXXXXKKXAKK XN 1978 P: 877.285.4918
Current Balance: $6,670.21 F: 818-888-1260
Charge Off Date: 05/24/2017 www.mandarichlaw.com
Yau may also contact us via email at
INFO@MANDARICHLAW.COM
Pay Online: www.PayMLG.com
GLENDA LAWSON
13363 MONTEREY WAY
VICTORVILLE CA 92392-6392 June 13, 2018
Dear GLENDA LAWSON,

Your account has been sold and assigned to our client, Cavalry SPV I, LLC. This office has been retained to
collect the above balance that you owe our client. This is a demand for payment of your outstanding obligation.

If you choose to do so, you may make a payment online by visiting our website at www.PayMLG.com at your
convenience. Please contact our office should you wish to discuss payment arrangements on your account. You
can reach us on our toll-free number of 877.285.4918. When contacting our office by phone or letter, please refer

to file number 207241.

Unless you, within thirty days after receipt of this notice, dispute the validity of the debt, or any portion thereof,
we will assume this debt is valid. If you notify this office in writing within the thirty day period that the debt, or
any portion thereof, is disputed, this office will obtain verification of the debt or a copy of a judgment against you
and a copy of such verification or judgment will be mailed to you. Upon your written request within the thirty
day period, this office will provide you with the name and address of the original creditor, if different from the

current creditor.

You may request records showing the following: (1) that Cavalry SPV I, LLC has the right to seek collection of
the debt; (2) the debt balance, including an explanation of any interest charges and additional fees; (3) the date of
default or the date of the last payment; (4) the name of the charge-off creditor and the account number associated
with the debt; (5) the name and last known address of the debtor as it appeared in the charge-off creditor's or debt
buyer's records prior to the sale of the debt, as appropriate; and (6) the names of all persons or entities that have
purchased the debt. You may also request from us a copy of the contract or other document evidencing your
agreement to the debt.

A request for these records may be addressed to: Mandarich Law Group, LLP, 420 N. Wabash Ave Suite 400,
Chicago, IL 60611.

Sincerely,

Mandarich Law Group, LLP

THIS COMMUNICATION IS FROM A DEBT COLLECTOR. THIS IS AN ATTEMPT TO COLLECT
A DEBT, AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.

RAAT
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IMPORTANT NOTICE OF RIGHTS

In California: The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection
Practices Act require that, except under unusual circumstances, collectors may not contact you before 8 a.m. or
after 9 p.m. They may not harass you by using threats of violence or arrest or by using obscene

Mandarich Law Group, LLP | 420 N. Wabash Ave Suite 400, Chicago, IL 60611 | 877.285.4918
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Please Reply To: Christopher D. Mandarich (CA)
420 N. Wabash Ave Suite 400 MAN DARICH LAW GROU P, LLP Michael D. Mandarich (CO}
Chicago, IL 60611 Attorneys at Law John C. Bonew#cz (IL)
P: 877.285.4918 Ryan E. Vos (AK, CA, !D, OR, WA)
F; 818-888-1260 Anthony F. Porto (IA, MO, VA)
www.mandarichlaw.com Veronica M. Barisich (NV)
You may also contact us via email at Christina M. Milien (IL, MO, NE, KS, 1A)
INFO@ MANDARICHLAW.COM OF COUNSEL
July 19, 2018 William Boaz (OR)
William T. Sali (iO)
Angela Burmeister (NE, IA, MO, KS)
Thomas M. McGreal (CA, Hl)
Crystal Flynn (UT)
Sent via US Mail Faye Carroll (VA)
GLENDA LAWSON
13363 MONTEREY WAY
VICTORVILLE CA 92392-6392
Current Creditor: Cavalry SPV I, LLC
Our File No.: 207241
Original Creditor: Citibank, NA.
Original Creditor Account No.: XXXXKXXKXXXKK1I7TB
Current Balance Due: $6,670.21
Charge Off Date 05/24/2017

NOTICE OF INTENTION TO SUE AND INCUR COURT COSTS AND LEGAL FEES
CALIFORNIA CODE OF CIVIL PROCEDURE SECTION 1033

Dear GLENDA LAWSON,

We represent Cavalry SPV I, LLC. If we are unable to resolve this matter within ten (10) days of the date of
this letter, our client has authorized us to file a lawsuit to collect the balance owing on the above-referenced

account.

You are hereby notified that pursuant to California Code of Civil Procedure Section 1033, if in the event we
file a lawsuit against you, you will be potentially liable for not only the payment of your debt, but for the
actual cost of the filing fee, the actual cost of service of process, and, when otherwise specifically allowed by
law, reasonable attorney’s fees, in accordance with California law.

Please give this matter your prompt attention and contact our office toll-free at 877.285.4918,

Sincerely,
Mandarich Law Group, LLP

THIS COMMUNICATION IS FROM A DEBT COLLECTOR. THIS IS AN ATTEMPT TO
COLLECT A DEBT, AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT
PURPOSE.

SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.

CARA
Case: 1:18-cv-06918 Document #: 26-1 Filed: 02/05/19 Page 7 of 7 PagelD #:138

IMPORTANT NOTICE OF RIGHTS

We are required under state and/or federal law(s) to notify consumers of certain rights. This list does not
include a complete list of rights you may have under state or federal laws or regulations, Federal Law or

other state laws may also provide you with similar or even greater rights.

reason to know that you may not receive personal calls at work. For the most part, collectors may not tell
another person, other than your attomey or spouse, about your debt. Collectors may contact another person
to confirm your location or enforce a judgment. For more information about debt collection activities, you
may contact The Federal Trade Commission at 1-877-FTC-HELP or www.fic.gov. As required by law, you
are hereby notified that a negative credit report reflecting on your credit record may be submitted by the
creditor to a credit reporting agency if you fail to fulfill the terms of your credit obligations.

Mandarich Law Group, LLP |420 N. Wabash Ave Suite 400, Chicago, IL 60611 | 877.285.4918
